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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


  IN RE: BIOMET M2a MAGNUM HIP            )
  IMPLANT PRODUCTS LIABILITY              )
  LITIGATION (MDL 2391)                   )         CAUSE NO. 3:12-MD-2391
                                          )
                                          )
                                          )
  This Document Relates to All Cases      )
                                          )


                           MEMORANDUM AND ORDER

        Biomet had begun searching its electronic files before the creation of this
  multidistrict litigation docket through a keyword culling and de-duplication
  process, winnowing the universe of potentially relevant documents (the universe
  as Biomet saw it) from 19.5 million documents to 2.9 million. At that point,
  Biomet turned to technology-assisted review, or “predictive coding,” to winnow the
  potentially discoverable documents down further. On April 18, I resolved the
  parties’ dispute over whether Biomet had to go back to square one in its document
  production and use predictive coding. I ruled that Biomet didn’t have to do that,
  though I encouraged Biomet to do what it said it would do and let the Plaintiffs’
  Steering Committee suggest additional search terms.


        Today’s dispute picks up where the April order left off. The Steering
  Committee wants Biomet to produce the discoverable documents used in the
  training of the “predictive coding” algorithm. Biomet reveals only that the
  discoverable documents used in the seed set already have been disclosed to the
  Steering Committee; Biomet won’t identify the seed set beyond that. Without
  knowing the training documents, the Steering Committee says, it can’t
  intelligently propose more search terms, since it doesn’t know what already has
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  been included in the search. Biomet says nothing in the law requires it to provide
  what the Steering Committee seeks.


        My understanding of the predictive coding process consists largely of what
  was placed before me in resolution of the first discovery issue, although Biomet
  added a little more information and terminology in the memoranda I requested
  from both sides. As I understand it, a predictive coding algorithm offers up a
  document, and the user tells the algorithm to find more like that document or that
  the user doesn’t want more documents like what was offered up.


        The Steering Committee wants the whole seed set Biomet used for the
  algorithm’s initial training. That request reaches well beyond the scope of any
  permissible discovery by seeking irrelevant or privileged documents used to tell
  the algorithm what not to find. That the Steering Committee has no right to
  discover irrelevant or privileged documents seems self-evident.


        So I might have misunderstood the Steering Committee’s request. It might
  be that the Steering Committee only wants to know which discoverable documents
  were used in the seed set, placing the parties’ disagreement in a different light.
  Biomet tells the court — and the Steering Committee is in no position to agree or
  disagree — that it already has produced all of the discoverable documents that
  were used in the seed set. Given that production, then, the Steering Committee
  doesn’t seek the production of documents; it has all the documents it wants to
  know about. The Steering Committee wants Biomet to tell how it went about
  identifying and selecting the documents (not just the seed set) that it has
  produced.


        I’m puzzled as to the authority behind the Steering Committee’s request.
  Federal Rule of Civil Procedure 26(b)(1) makes discoverable

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        any nonprivileged matter that is relevant to any party’s claim or
        defense—including the existence, description, nature, custody,
        condition, and location of any documents or other tangible things and
        the identity and location of persons who know of any discoverable
        matter. For good cause, the court may order discovery of any matter
        relevant to the subject matter involved in the action. Relevant
        information need not be admissible at the trial if the discovery
        appears reasonably calculated to lead to the discovery of admissible
        evidence. All discovery is subject to the limitations imposed by Rule
        26(b)(2)(C).

  The Steering Committee knows of the existence and location of each discoverable
  document Biomet used in the seed set: those documents have been disclosed to
  the Steering Committee. The Steering Committee wants to know, not whether a
  document exists or where it is, but rather how Biomet used certain documents
  before disclosing them. Rule 26(b)(1) doesn’t make such information disclosable.


        The only authority the Steering Committee cites is a report of the Sedona
  Conference that has had a significant, salutary, and persuasive impact on federal
  discovery practice in the age of electronically stored information. Sedona
  Conference Cooperation Proclamation, 10 Sedona Conf. J. 331 (Fall Supp. 2009).
  Biomet, the Steering Committee says, isn’t proceeding in the cooperative spirit
  endorsed by the Sedona Conference and the corresponding Seventh Circuit
  project. But neither the Sedona Conference nor the Seventh Circuit project
  expands a federal district court’s powers, so they can’t provide me with authority
  to compel discovery of information not made discoverable by the Federal Rules.


        Still, Biomet’s position is troubling. Biomet suggests no way in which telling
  the Steering Committee which of the documents already produced were in the
  seed set would harm it. Based on what I have been given in the parties’
  memoranda, Biomet is right that it doesn’t have to identify the seed set, but the
  Steering Committee is right that Biomet’s cooperation falls below what the Sedona


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  Conference endorses. An unexplained lack of cooperation in discovery can lead a
  court to question why the uncooperative party is hiding something, and such
  questions can affect the exercise of discretion.


        But I don’t have any discretion in this dispute. I won’t order Biomet to reveal
  which of the documents it has disclosed were used in the seed set, but I urge
  Biomet to re-think its refusal.

        ENTERED:       August 21, 2013



                                     /s/ Robert L. Miller, Jr.
                                    Robert L. Miller, Jr., Judge
                                    United States District Court




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